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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                    CASE NO. 1:14-cv-22654-DPG

ROTHSCHILD STORAGE
RETRIEVAL INNOVATIONS, LLC,

                       Plaintiff,

vs.

LG ELECTRONICS, INC., LG
ELECTRONICS U.S.A., INC., and
LG ELECTRONICS MOBILECOMM
U.S.A., INC.,

                  Defendants.
________________________________/

            DECLARATION OF LEIGH M. ROTHSCHILD IN SUPPORT OF
            ROTHSCHILD STORAGE RETRIEVAL INNOVATIONS, LLC’S
             OPPOSITION TO DEFENDANTS’ MOTION TO TRANSFER
                TO THE NORTHERN DISTRICT OF CALIFORNIA

I, Leigh M. Rothschild, hereby declare as follows:

       1.      My name is Leigh M. Rothschild. I am over eighteen years of age and am

competent to testify about the matters in this Declaration. Except where stated, I have personal

knowledge of all matters set forth herein.

       2.      I am the Managing Director of Rothschild Storage Retrieval Innovations, LLC.

This Declaration is submitted in support of Plaintiff’s Opposition to Defendants’ Motion to

Transfer to the Northern District of California.

       3.      I filed my first patent application more than 30 years ago, and have since been

issued more than 75 patents.

DECLARATION OF LEIGH M. ROTHSCHILD IN SUPPORT
OF ROTHSCHILD STORAGE RETRIEVAL INNOVATIONS, LLC’S
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TRANSFER TO THE NORTHERN DISTRICT OF CALIFORNIA                                         Page 1
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        4.      I am the Managing Director of more than 7 businesses, all of which are based out

of the Southern District of Florida.

        5.      All of my personal and business records are located in the Southern District of

Florida, as are my CPA, general counsel, and my former prosecution counsel that was used for

prosecution of U.S. Patent No. 8,437,797 (the “’797 patent”).

        6.      I am a single parent, and transfer across the United States (or otherwise) will

cause significant inconvenience for my personal and child care obligations.

        7.      I formed RSRI to hold and enforce the ’797 patent, in this lawsuit and six related

lawsuits in this District.

        8.      RSRI is not a “patent acquisition” company; instead of acquiring patents from

others, it was formed by the inventor of the patent-in-suit strictly for assertion of the patent-in-

suit.

        9.      RSRI’s principal place of business is in the Southern District of Florida and RSRI

possesses documents relating to the conception and prosecution of ’797 patent, as well as related

and parent applications and patents, in this District.

        10.     RSRI also has documents relating to the licensing of the ’797 patent in this

District.

        11.     RSRI’s outside accountant is in this District, as is its outside general counsel.

RSRI has multiple employees, including myself (Managing Director) and Connie Kazanjian

(Executive Vice President).

        12.     Mrs. Kazanjian’s husband is scheduled to undergo brain surgery in January 2015

that would render her travel exceptionally inconvenient.


DECLARATION OF LEIGH M. ROTHSCHILD IN SUPPORT
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       13.    The prosecuting attorneys of the parent to the patent in suit, U.S. Patent No.

8,204,437, are Peter Matos and Steven M. Greenberg and are located in this District.

       I declare under penalty of perjury that the foregoing is true and correct this 8th day of

December 2014, in Bay Harbor Islands, Florida.



                                            ____________________________________
                                            Leigh M. Rothschild




DECLARATION OF LEIGH M. ROTHSCHILD IN SUPPORT
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OPPOSITION TO DEFENDANTS’ MOTION TO
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